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 7
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 8
 9                                    FOR THE DISTRICT OF ARIZONA
 9
10
10
11   United States of America,                         CASE NO. 2:18-cr-00422-SMB
11
12                       Plaintiff,                    JAMES LARKIN’S JOINDER TO JOHN
12
13   vs.                                               BRUNST’S MOTION TO COMPEL
13                                                     GOVERNMENT COMPLIANCE WITH
14   Michael Lacey, et al.,                            COURT’S ORDER FOR SPECIFIC
14
                                                       IDENTIFICATION OF DOCUMENTS
15                       Defendants.                   SUBJECT TO PROTECTIVE ORDER
15
16                                                     DOC. 740
16
17
17
18
18
19           James Larkin, by and through his undersigned counsel, hereby joins in John Brunst’s
19
20   Motion to Compel Government Compliance with Court’s Order for Specific Identification of
20
21   Documents Subject to Protective Order (Doc. No. 740). Mr. Larkin adopts the legal positions
21
22   and bases set forth in the Motion as if fully set forth herein.
22
23           Further, in addition to the nearly 27,000 pages of discovery produced to Defendants
23
24   on September 13, 2019, many months after the December 2018 discovery cutoff, (see Exhibit
24
25   A). undersigned counsel defense received yet another purported Rule 16 production on
25
26   September 24, 2019. This production contains nearly 13,000 additional pages and two
26
27   DVDs with unspecified lengths of audio and video recordings. The accompanying “index”
27
28   identifies several categories of new documents including: “Arizona GJ Court-related
28
        JAMES LARKIN’S JOINDER TO JOHN BRUNST’S MOTION TO COMPEL GOVERNMENT
       COMPLIANCE WITH COURT’S ORDER FOR SPECIFIC IDENTIFICATION OF DOCUMENTS
                             SUBJECT TO PROTECTIVE ORDER
              Case 2:18-cr-00422-DJH Document 743 Filed 09/26/19 Page 2 of 3




 1   Documents,” “Reports of Interviews and Supporting Documents” (listed on the
 2   government’s cover letter three times with differing Bates ranges), “CA DOJ Investigation
 3   Documents,” “Backpage Case Search Warrants,” “Backpage State Court Case-related
 4   Documents.” See Exhibit B.
 5          As laid out in Doc. No. 740, defense counsel does not know the government’s position
 6   on which documents it believes fall under the protective order in the nearly eleven million
 7   pages produced between May 2018 and April 2019. Moreover, defense counsel is also unclear
 8   on the government’s position as which, if any, of the recently disclosed approximately 40,000
 9   pages of discovery need to be protected.
10          For all of the foregoing reasons, Mr. Larkin joins in John Brunst’s Motion to Compel
11   Government Compliance with Court’s Order for Specific Identification of Documents
12   Subject to Protective Order (Doc. No. 740) and asks this Court to order the government to
13   specifically identify documents by title and Bates number that it contends are subject to the
14   protective order.
15
16                                              Respectfully submitted,
17
18   DATED: September 26, 2019                  BIENERT | KATZMAN PC
19
20                                              /s/ Whitney Z. Bernstein
                                                Whitney Z. Bernstein
21                                              Thomas H. Bienert, Jr.
                                                Attorneys for James Larkin
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28                                                 2
         JAMES LARKIN’S JOINDER TO JOHN BRUNST’S MOTION TO COMPEL GOVERNMENT
        COMPLIANCE WITH COURT’S ORDER FOR SPECIFIC IDENTIFICATION OF DOCUMENTS
                              SUBJECT TO PROTECTIVE ORDER
             Case 2:18-cr-00422-DJH Document 743 Filed 09/26/19 Page 3 of 3




                                  CERTIFICATE OF SERVICE
 1
 2          I certify that on this 26th day of September, 2019, I electronically transmitted a PDF
 3   version of this document to the Clerk of the Court, using the CM/ECF System, for filing and
     for transmittal of a Notice of Electronic Filing to the following CM/ECF registrants listed
 4   below.
 5                                             /s/ Toni Thomas
 6                                             Toni Thomas

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